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                IN THE UNITED STATES DISTRIC'T COURT FOR THE

                          WI.]STERN DISTRICT OF- OKLAHOMA


UNITED STATES OF AMERICA.                        )
                                                 )
                         I'laintiff,             )
                                                 )
                -l s-                            )        No. CR-21-452-D
                                                 )
.IOSEPH ALBERT MONTOYA, III,                     )
                                                 )
                         Defendant.              )

                                       PLEA AGREEMENT

                                          lntroduction

        l.      'l'his Plea Agreement. in conjunction with a plea Supplement
                                                                                            filed

contemporaneously under seal, contains the entire agreement between Defendant Joseph

Albert Montol'a- III. and the United Srares concerning Defendant's plea of guilry' in this

case. No other agreement or promise exisls. nor may any additional agreement be entered

into unless in rvriting and signed by all parties. An1' unilateral modification of this Plea

Agreemenl is hereby rejected by the United States. This Plea Agreement applies only ro

the criminal violations described and does not appll to an1' civil matter or an1, civil
                                                          -l'his
forfeiture proceeding exccpt as specihcalll' set lbrth.            Plea Agreement binds only the

United States Attomey's Office for the Westem District of Oklahoma and does not bind

an1, other federal. state. or local prosecuting. administrative. or regulatory authoriw.       If
Delendant does not accept the tcrms of this Plea Agrcernenl b1' December 31, 2024' the

ofl'er is rvithdrarvn.
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                                             Guiltv Plea

        2.     Defendant agrees to enler a plea of guilty to Counl 2 of the Indictment in

Case Numbcr CR-24-452-D. Count 2 charges Defendant rvith possession of stolen

firearms. in violation of l8 U.S.C. S 922(l). To be lound euilt), of violating t8 LI.S.C.

$ 922(i). as charged in Count 2 of the lndictment. Defendant must admit, and does admit.

that between on or about Februar-'r' 25. 2024. through on or about March 6. 2024. in thc

Western District of Oklahoma: ( l) Delbndant knou,ingly and intentionally possessed stolen

firearms; (2) Det'endant knerv or had reasonable cause to believe that the firearms had been

stolen; and (3) the firearms u'ere in and aflecting interstate commerce.

                Maximum Penaltv. Restitution. and Soecial Assessment

       3.      The maximum penalty that could be imposed as a result of this plea to Count

2 ofthe lndictment is ten ( l0) years o[ imprisonment. a fine of$250,000.00, or both such

fine and imprisonment. as u'ell as a mandatorl' special assessment of $100.00 and a term

of supen ised release of three (3) 1.ears.

       4.      In addition to the punishment described above, a plea of guilty can affect

immigration status. If Def'endant is not a citizen olthe United States. a guiltl' plea mal'

result in deportation and removal from the United States. may prevent Defendant fronr evcr

larvfully reentering or remaining in the United States. and may result in the denial of

naturalization. F-urther. il' Defendant is not a citizen of the United Stales. Defendant

knorvingh' and voluntarill' waives any right. pursuant to l8 U.S.C. $ 4100. et seq.. to

request to transt'cr scrvice ofany sentence ol imprisonment or pan thereolto Defendant's




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home country. If Defendant is a naturalized citizen of the United States, a guilty plea may

result in denaturalization.

        5.     In addition. the Court must order the paymenl olrestitution to any victim(s)

ofthe offense. Pursuant to l8 U.S.c. gg 3663(aX3) and 36634. the parties agree thar. as

part of the sentence resulting frorn Defendant's plea. the court will enter an order of

restitution to all victims ofDefendant's relevant conduct as determined by reference to lhe

United States Sentencing Guidelines (rhe "Cuidelines').

       6.     Defendant agrees to pa1'any special assessment(s) to the Office ofthc Court

Clerk immediately follorving sentencing. Defendant understands that any fine or

restitution ordered by the cou( is immediately due unless the court provides for payment

on a date certain or in installments. If the Court imposes a schedule for payment of

restitution, Defendant agrees that such a schedule represents a minimum payment

obligation and does not preclude the Uniled States Attome)''s Oftice fiom pursuing other

means by rvhich to satisry Dcfendant's full and immediately enforceable financial

obligations. Delendant accepts a continuing obligation to pa)' in full. as soon as possible,

any financial ohligation imposed bythcCourt. Defendant further understands that a lailure

to abide b1'the tcrms ofan1' restitution schedule imposed b1' the Court may result in lurther

action by the Court.

       7.     For certain s(atutolJ' oft'enses. the Court must also impose a tcrm of

supcn,ised release. tvhich Defendant u'ill begin to sen'c afler being released liont custody.

I.'or all other off'enses. the Court maf impose a term of supen'ised release to be sen'ed

lbllotving rcleasc from custod1,. During the term of supen'ised relcasc. Dclbndant \\'ill be
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 subject to conditions that u'ill include prohibitions against violating local. state.9r federal

law. reporting requirements. restrictions on travel and residence, and possible testing for

controlled substance use. If Defendant violates the conditions of supen,ised release. the

court may revoke Defendant's supen,ised release and sentence Delendant to an addilional

term of imprisonment. This additional lerm of imprisonment would be served without

crcdit for the time Defendant successfully spent on supervised release. When combined.

the original term of imprisonment and any subsequent term ol imprisonment the Court

imposes may exceed the statutos, maximum prison lcrm allowable for the offense.

                                    Financial Disclosures

       8.      Defendant agrees to disclose all assets in which Defendant has any interest

or over which Defendant exercises control. directly or indirectly, including those held by a

spouse, nominee. or any other third party. Upon request by.the United States, Defendant

agrees (l) to complete truthfully and sign under penaltl of perjury a Financial Statement

ofDebtor by the change-of-plea hearing. or a date othenvise agreed to by the United States.

and (2) to provide updates rvith an1'material changes in circumstances. as described in l8

U.S.C. ss 3664(k). within seven da1's of the event giving rise to such changes. Defendant

understands that the United Slates rvill take f)efendant's compliance rvith thcse requests

into account when it makes a recommendation to lhe Court regarding Defendant's

acccptance of responsibiliry'.

       9.     Def'endant also expressly authorizcs thc United States Attomey's Olfice to

obtain a credit report on Dclbndant. in order to evaluate Defendant's abilitl' to satisli an)'

financial obligations imposed b1' thc Court. Irinall.v. Delendant agrees to notii' thc


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Irinancial l-itigation Program (-I.-LP") of the (lnited States Atomey's Office and to obtain

permission from FLP before Defendant lransfers any interest in property with a value

exceeding $1.000.00, ou,ned directly, indircctly, individually, or jointly by Defendant.

including any interest held or orvned under an)' namc, including trusts, partnerships. or

corporations. Defendant ackno*,ledges a continuing obligation to noti$, and obtain

permission from FLP for an1, translers of the above-described property until full

satisfaction of any restitution. fine, special assessmcnl, or other financial obligations

imposed by the Court.

                                           Forfeiture

       10. Def,endant agrees to fbrfeit to the United States voluntarily and immediately
all ofDefendant's right, title. and interest in and to all assets rvhich are subject to forfeiture

pursuant to l8 U.S.C. $ 924(d), and 28 U.S.C. g 2461(c), including but nor limited to:

                a.    a Smith & Wesson. modcl SD40 VE, .40 caliber pisrol. bearing serial
                      number I:DtJ8580:

                h     a Radical Firearms. model FR- 15. multi-calibcr rifle. bearine serial
                      numbcr 2-002776:

                c     a Smith & Wcsson. model SD9. 9mm caliber pistol. bearing serial
                      numbcr IDW4308: and

                d.    an1' and all ammunition and magazines not specifically listed.


I)efendant agrees that the listcd asscts \vere involved in the violation to rvhich Defendant

is pleading guilS'.

       I   l.   Defendant knorvingly and voluntarily rvaives Dcfendant's right to ajury trial

on the fbrleiture ofassets. Dcl'endant knou'ingly and voluntarily rvaives all constitutional.
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 lcgal. and equitable def,enses to the lorfeiture ofthese assets in any proceeding. and further

waivcs any claim or def,ense under the Eighth Amendment to the United States

Constirution, including any claim ofexcessive fine. to the forfeiture or disposition ofassets

by the Ljnited States, the state ofoklahoma. or its subdivisions. Defendant knorvingly and

voluntarily consents to the entD, of a final order of forfeiture belbre sentencing as to

Defendant's interest in the assets. Forfeiture ofDefendant's assels shall not be treated as

satisfaction of any fine. restitution. cost ol imprisonment. or an1' other penalty the court

may impose upon Defendant in addition to fbrfeiture.

        12. Defendant knowingly and voluntarily rvaives any right to appeal or
collateralll attack anv maner in connection q,ith the forfeiture provided tbr herein.

Defendant rvaives Defendant's right to notice ofanl' forfeiture proceeding and agrees not

to file a claim to the above-listed property or properq involved in the underlying criminal

conduct. or othenvise contest forfeiture in an1, civil. administralive, orjudicial proceeding

that may be initiated. Defendant further agrees not to assist others in filing a claim in a

forfeiture proceeding or otherwisc assist others who challengc a forfeiture action involving

the above-listed propeq, or propen) involved in the underlying criminal conduct.

Deiendant also voluntarill'and imrnediatcll' u'aives all right. titlc. and intercst in and to the

above-listed property in order that appropriate disposition mav be made by the appropriatc

federal or state lau, enforcement agencl .

                                   Sentencing Guidelines

       li.    I'he parties acknorvlcdgc that l8 LLS.C. $ 3553(a) dirccts the Court to

consider ccrtain lactors in iniposing scntcncs. includirtg thc (iuidclincs pronrulgalcd hv thc


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United States Sentencing Commission. Conscqucntly, although the parties recognize that

the Guidclincs are only advisory, they have entered into certain stipulations and agreements

with respect to the Guidelines. Based upon the information known to the parties on the

date that this Plea Agreemenl is executed. the) expect to take, but are not limited lo. lhe

following positions at sentencing:

              a.      The parties agree Defendant should receive a tu,o-level downward

adjustment for Defendant's acceptance of responsibility, pursuant to U.S.S.G. g 3ELl(a).

if Defendant commils no firrther crimes. does not talsel), deny or frivolously contest
relevant conduct. and fully complies with all other tenns of this Plea Agreement. Furrher,

if the Court applies that two-level dotvnrvard adjustment. the United States will move for

an additional one-level dounward adjustmenr under U.S.S.G. S 3El.l(b) if it determines

that Defendant qualifies for the additional adjustment based on the timeliness ol

Defendant's acceptance of this Plea Agreement and other appropriate considerations in

U.S.S.G. $ 3El.I and its application notes.

              b.     The parties agree and stipulate that Delendant's relevant conduct does

not support the application of an1'role enhancement pursuant to IJ.S.S.G. $ 38l.l or a

mitigating role reduction pursuant to U.S.S.G. S 3ll 1.2.

       Apart from any expressed agrcements and stipulations. thc parties reserve the right

to advocate for. and present evidencc rclevant to. other Guidelines adjustmcnts and

sentencing factors lor consideration b)'the tlnited States l'robation Oftice and the Court.

       14. 1'he parties havc cntered into this Plea Agreement under the provisions of
Federal Rules of criminal l)rocedure I I (cX I )(A) and I I (c)( I XB). l)cfendant


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acknolvlcdges and understands that the court is not bound b1'. nor obligated to acccpt. thcsc

stipulations. agreemenls. or recommendalions of the united states or Defendant. And.

cven if the Cou( rejects one or more ol' thesc stipulations, agreemenrs. or

recommcndations, that fact alone would not allorv Defbndant to withdraw Defendant's plea

of guilty. Upon Defendant's signing of this Plea Agreement, the united states intends to

end its investigation ofthe allegations in the Indictment, as to Defendant. except insofar as

required to prepare for further hearings in this case. including but not limited to senrencing.

and to prosecute others. ifany. invoh'ed in Defendant's conduct. The United Stares agrees

to end any investigation directed specifically at lhe forcgoing slipulations, agreements. or

recommcndations as to Defendant. Hon'ever. subject to the terms and conditions o[this

Plea Agreement and Plea supplement. the United States expressly reserves the right to take

positions that deviate lrom the foregoin-e stipulations. agreements. or recommendations in

the evenl that material credible evidence requiring such a deviation is discovered during

the coursc of its investigation after the signing ol this Plea Agreement or arises from

sources independent ofthe United Statcs. including thc United States Probation Office.

              Waiver of Risht to Anncal and Brin s (lollateral Challense

       15. Defendant understands that the Cou( will consider thc lactors set florth in l8
U.S.C. $ 3553(a) in determining Defendant's senlence. Def'endant also understands that

the Court has jurisdiction and authoritl' to impose an)' sentcncc u'ithin the statulon

maximum lbr the ofl'ense(s) to rvhich Delendant is pleading -euilq. I)efendant lurther

underslands that 28 Lr.S.C. $ l29l and I 8 IJ.S.C. $ 3742 give Defendant lhe right to appeal

the judgrnent and sentcnce imposcd by the Court. Acknorvledging all of this. and in


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 exchange tbr the promises and concessions made by thc tJnited Statcs in this plea

 Agreement. Dcfendant knorvingly and voluntarily u'aives the following rights:

                  a.     Defcndant r,r,aives the right to appcal Defendant's guilty plea, and any

 other aspect of Defendant's conviction, including bur not limited to any rulings on pretrial

suppression motions or an1'other pretrial dispositions of motions and issues;

                  b.     Excepr as stated immediately below. Defendant rvaives the right to

appeal Defendant:s sentence. including an), reslitulion, and the manner in rvhich the

sentence is determined, including its procedural reasonableness. If the sentence is above

the advisory Guidelines range determined bl the Court to appl)'to Defendant's case, this

rvaiver does not include Defendant's right to appeal the substantive reasonableness of

Defendant's sentence:

                 c.      Defendanr s'aives the right ro appeal or collateralll' challenge the

length and conditions ol supen,ised release. as u'ell as an1' sentence imposed upon a

revocalion of Defendant's supervised release:

                 d.      Defendant s,aives the right to collateralll challenge or move to

modi$ (under 28 U.S.C. $ 2255. l8 U.S.C. g 3582(c)(2). or any other ground) Defendant's

conviction or sentence. including ani- rcstitution. except tvith respect to claims o[

ineffective assistance ofcounsel. 'fhis saiver does not includc Defendanl's abilin to file

a rnotion l'or conrpassirxralc rclcasc unrlcr l8 ( I.S.('. S 35tt2(c)( I )(n )(i). [)clcndant.

htxrcrer. *aivcs the right to appeal thc denial of anl urotion lilcd under ltl (!.S.C'.

ss   i582(c)( l)(A)(i) uJrcrc such clenial rcsls in anl parl upon the Court's detcrnrination tlrat

a sentence reduction is nol Narranted under factors set lbrth in l8 Ll.S.C. ss 3553(a).
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        Defcndant acknou,ledgcs that these u,aivers remain in t'ull effect and arc

enforccablc. even if the court rejects onc or more ol'the positions ofthe United Slates or

Defendant set fbrth in paragraph 13.

        16. Except as stated immediately below. the United States agrees to waivc its
right under l8 U.S.C. $ 3742 to appeal the sentence imposed by the Court and the manner

in which the scntence rvas determined. If the sentence is belorv the advisory Guidelines

range determined by the Courl to apply in this case. lhis waiver does not include the right

ofthe United States to appeal the substantive reasonableness ofDefendant's sentence.

                         Waiver of FOIA and Privacy Act Rishts

       17. I)efendant u'aives all rights. rvhether asserted directly or by a representative.
to request or receive lrom an1, department or agency of the United States any records

pertaining to the investi,qation or prosecution of this case. including but not limited 1o

records that Delendant ma1' seek under the Irreedom of Infbrmation Act. 5 [J.S.C. $ 552.

or the Privacy Act of 1974. 5 U.S.C. $ 522a.

                                 Obligations of Defendant

       18. I)efendant shall comrnit no further crirnes. Should Defendant commit anr'
further crimes. knorvinglv give Ialse. incornplete. or rnisleading testimony or information.

or otherwise violate an1' provision ol this Plea Agreement, lhe United States *'ill be

released frorn any obligations. agrcernenls. or rcstriclions imposed on it under this Plea

Agrccnrcnt. and the United States ma]' prosecute Del'cndant for any and all of Del'endant's

fcdcral criminal violations, including perjury and obstruction ofjustice. Any prosecution

rvithin the scope o[ this investigalion that is nol tinte-barrcd b1' the applicablc statutc ol'


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limitations on the date of the signing of this Plea Agreement may be brought against

Dct'endant. notwithstanding the expiration of the statute of limitations betlveen the signing

of this Plea Agreement and the commcncemenl of that prosecution. Defendant herchy.

waivcs all dcfenses based on the statute of limitations s'ith respect to any prosecution lhat

is not time-barrcd on the date that this Plea Agreement is signed.

        19. The parties also recognize that if the Court determines that Defendant has
violated any provision of this Plea Agreement or authorizes Defendant to withdrau from

Defendant's knorving and voluntary guiltv plea entered pursuant to this Plea Agreement:

(a) all written or oral statements made by Defendant to the Court or to federal or other

designated law enforcement agcnts. any testimony given by Defendant before a grandjury

or other tribunal, whether belore or after the signing ofthis Plea Agreement, and any leads

lrom those statements or testimony. shall be admissible evidence in any criminal

proceeding brought against Defendant: and (b) Defendant shall assert no claim under the

United States Constitution. an), statule. Federal Rules of Criminal Procedure I l(d)(l) and

I l(f). Federal Rule ofEvidence 410. or any other f'ederal rule or law that those statements

or any leads from those statements should be suppressed. Defendant knowingly and

voluntarily uaives Defendant's rights described in this paragraph as olthe time Delendanl

signs this Plea Agreement.

                             Oblieatiol! of the United States

       20. ll'Dcf'endanl cntcrs a plea ol guilq as described above and lullv nrects all
obligations undcr lhis I)lca A-qrcemcnt. thc lJniled States u'ill movc to dismiss at scntcncing

('ount I ol'lhc lndictrncnt. as to I)cfendanl. retumed on Octobcr 15. 2024. and thc tjnited


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States Attomey's Office for the Western District of Oklahoma rvill not further prosecute

Defendant for any crimes related to Defendant's participation in traficking and possession

of stolen firearms lrom between on or about Februar-r, 25,2024 through on or about March

6,2024.1'his Plea Agrecment does not provide an1'protection against prosecution for any

crime not specifically described above.

       21. Defendant understands that the sentence to be imposed upon Defendant is
rvithin thc sole discrction of the Court. The United States does not make any promise or

representation as to what sentence Defendant will receiYe. The Uniled States reserves the

right to inform the United States Probation Oftice and the Court oflhe narure and extenl

ofDefendant's activities rvith respect to this case and all other activities of Detbndant that

the United States deems relevant to sc'ntencing.




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                                         Sisnat u rcs

       22. By signing this PIea Agreement, I)cl'cndant acknorvledges that Defendant
has discussed thc lemrs ofthe Plea Agreemenl with l)efcndant's attorney and underslands

and accepls those terms. F'urther. Defendant acknorvledges that this Plea Agreement. in

conjunction rvith the Plea Supplement liled contemporaneously under seal, contains the

only terms of the agreement conceming Del'endant's plea of guilty in this case. and that

there are no other deals, bargains. agreemcnls. or understandings rvhich modi$ or alter

these terms.
                                                        {
       Dated thisf{da1   ,or f**n                 .202I


                                                   ROIII:Rl'J. I'ROESTER
      ov                                           I Initcd States Atto   e)




         S B. SNYDI]R                              S'llrPtIIlN C. I{OCII
Deputl Chiel. Crinrinal I)ivision                 Assistant Irnited States Attorney
                                                  WcslL-rn District ol' Oklahoma
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                                                  (10s ) 553      l(




JOSEPII A      ERl'MON'|OYA. II                   .IN SoN PI:        S
Delendant                                         Attorncl lirr l)clcndant




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